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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     SECURITIES AND EXCHANGE                            Case No. 23-cv-06003-WHO
                                         COMMISSION,
                                   8                    Plaintiff,                          ORDER DENYING MOTION TO
                                   9                                                        CERTIFY ORDER FOR
                                                 v.                                         INTERLOCUTORY APPEAL
                                  10
                                         PAYWARD, INC., et al.,                             Re: Dkt. No. 92
                                  11                    Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          Defendant Payward, Inc (d/b/a Kraken, hereafter “Kraken”) asks me to certify for

                                  14   interlocutory appeal my August 23, 2024 Order Denying Kraken’s Motion to Dismiss. This

                                  15   matter is appropriate for resolution on the papers and the December 4, 2024 hearing is

                                  16   VACATED. See Civ. L.R. 7-1(b).

                                  17          In my August 2024 Order, I found that the Securities and Exchange Commission (“SEC”)

                                  18   had adequately alleged facts to support that the third-party cryptocurrency assets that are sold,

                                  19   exchanged, and traded on Kraken form the basis of investment contracts such that transactions

                                  20   involving those assets are subject to securities laws. Dkt. No. 90. Kraken now asks that I certify

                                  21   this decision for interlocutory appeal pursuant to 28 U.S.C. § 1292(b) on three questions: (1)

                                  22   whether an “investment contract” without a contract can form the basis of an alleged Exchange

                                  23   Act violation; (2) whether an “investment contract” without post-sale obligations by the issuer to

                                  24   the purchaser can form the basis of a violation of the Exchange Act; and (3) whether the United

                                  25   States Supreme Court’s decision in SEC v. W.J. Howey Co., 328 U.S. 293 (1946) (“Howey”)

                                  26   requires an investment of money in the alleged enterprise. Dkt. No. 92.

                                  27          Pursuant to 28 U.S.C. § 1292, a district court may certify for interlocutory appeal an order

                                  28   where (1) “such order involves a controlling question of law,” (2) “there is substantial ground for
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                                   1   difference of opinion” as to such question of law, and (3) “an immediate appeal from the order

                                   2   may materially advance the ultimate termination of the litigation.” See 28 U.S.C. § 1292(b). Even

                                   3   where the party seeking to certify an issue for interlocutory review meets its burden to show that

                                   4   each of the three requirements are satisfied, “a district court’s decision to grant or deny

                                   5   certification is entirely discretionary.” Finjan, Inc. v. Check Point Software Techs., Inc., No. 18-

                                   6   CV-02621-WHO, 2020 WL 1929250, at *3 (N.D. Cal. Apr. 21, 2020).

                                   7          Kraken argues that my August 2024 Order involves controlling questions of law that, if

                                   8   decided in its favor, would require dismissal of the entire case. It also argues that the Order

                                   9   considers questions upon which there is a “substantial ground for difference of opinion,” because

                                  10   no appellate court has considered these exact issues. Finally, it contends that immediate appeal

                                  11   would materially advice the ultimate termination of this litigation. Dkt. No. 92.

                                  12          Kraken’s motion for certification for interlocutory review is DENIED. I understand that
Northern District of California
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                                  13   Kraken substantially disagrees with my rulings on the first two issues, but it has not cited a case

                                  14   since Howey where a court has held that contractual formalities or post-sale obligations are

                                  15   required for something to constitute an investment contract. Recognizing this, in its Reply,

                                  16   Kraken argues that a circuit split or actual disagreements between courts are not prerequisites for

                                  17   certification and asks me to grant its motion because this case involves “novel legal issues” upon

                                  18   which “reasonable jurists” might disagree. Dkt. No. 102 at 3-4 (citing Reese v. BP Exploration

                                  19   (Alaska) Inc., 643 F.3d 681, 688 (9th Cir. 2011)). As I discussed in the Order, several courts have

                                  20   addressed these issues and disagreed with Kraken’s position. See Dkt. No. 90 at 13-15 (discussing

                                  21   cases, post-Howey, where courts have held that investment contracts are not limited to actual

                                  22   contracts, nor do they require post-sale obligations). And, as for the third issue, courts around the

                                  23   country have considered similar questions and refused to import a “privity of contract” element

                                  24   into the Howey test, such that an investment contract involving the exchange of money would

                                  25   require privity between the issuer and the investor. Dkt. No. 90 (discussing cases). I did the same.

                                  26          Fundamentally, I do not believe that certification will materially advance the ultimate

                                  27   termination of the litigation. While the SEC has plausibly alleged its theory of securities

                                  28   violations against Kraken, only discovery will establish whether the sales, trades, and exchanges
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                                   1   on Kraken truly met all the Howey elements. See generally Dkt. No. 90. A complete record is

                                   2   necessary to answer those questions. Certification at this stage would only delay resolution.

                                   3          For the foregoing reasons, the motion is DENIED.

                                   4          IT IS SO ORDERED.

                                   5      Dated: November 18, 2024

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                                                                                                   William H. Orrick
                                   7                                                               United States District Judge
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Northern District of California
 United States District Court




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